
HALE, J.
The ease of Helen Robinson, plaintiff in error, versus Theodore P. McConnell, sheriff, defendant in error, is before us.
The only question necessary to be determined under the assignment of errors in this case, is, can a party to an action 'be compelled to answer questions put to him in an attempt to take his deposition to be used on the hearing of a motion for the appointment of a receiver.
One of the objects of taking the deposition of this plaintiff in error was that it was to be used upon the hearing of such motion.
We have heretofore held that the deposition of a party f*r that purpose, was authorized by the statute, and might be taken even though the party resided within the jurisdiction of the court. And, while it may sometimes work a hardship, we see no reason why we should change that holding. And, adhering to that holding, it results in the affirmance of the judgment of the court of common pleas.
